USDC IN/ND case 2:17-cv-00033-GSL        document 312     filed 03/08/24   page 1 of 30


                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF INDIANA
                          HAMMOND DIVISION

JOHN DOE,                                                   )
                                                            )     CIVIL ACTION
             Plaintiff,                                     )
v.                                                          )
                                                            )
PURDUE UNIVERSITY, PURDUE UNIVERSITY                        )
BOARD OF TRUSTEES, MITCHELL ELIAS                           )
DANIELS, JR., in his official capacity as President of      )
Purdue University, ALYSA CHRISTMAS ROLLOCK,                 )     No. 2:17-cv-33
in her official capacity at Purdue University,              )
KATHERINE SERMERSHEIM, in her official                      )
capacity at Purdue University,                              )
                                                            )
             Defendants.                                    )


  PLAINTIFF JOHN DOE’S WRITTEN OBJECTIONS, PURSUANT TO 28
     U.S.C. § 636 (b)(1)(C), TO THE FEBRUARY 26, 2024 REPORT AND
 RECOMMENDATION OF MAGISTRATE JUDGE RODOVICH (DE 311) TO
    SANCTION PHILIP A. BYLER FOR THE PUBLIC FILING (DE 307)
      OF PLAINTIFF JOHN DOE’S FEBRUARY 5, 2024 OBJECTION
    TO MAGISTRATE JUDGE RODOVICH SERVING AS JUDGE FOR
   ALL PURPOSES IN Doe v. Purdue AND TO ULTRA VIRES ASPECTS
    OF THE FEBRUARY 2, 2024 ORDER OF REASSIGNMENT (DE 306)

      Plaintiff John Doe, through counsel (who is a member of the Bar of this Court

with a certificate of membership), timely submits his Written Objections, pursuant

to 28 U.S.C. § 636 (b)1) C), to the February 26, 2024 Report and Recommendation of

Magistrate Judge Rodovich to sanction his counsel Philip A. Byler for the public filing

(DE 307) of Plaintiff John Doe’s February 5, 2024 No Consent/Objection to Magistrate

Judge Rodovich serving as judge for all purposes on Doe v. Purdue and to the ultra

vires aspects of the February 2, 2024 Order of Reassignment (DE 306).


                                          [1]
USDC IN/ND case 2:17-cv-00033-GSL        document 312     filed 03/08/24   page 2 of 30


No Proper Rodovich Authority; Rodovich Failure To Address the Reasons Showing
No Cognizable Violations and The Protection of Plaintiff John Doe’s Rights

      1.     As will be shown herein, (i) Magistrate Judge Rodovich did not have

proper legal authority to issue the February 26, 2024 Report and Recommendation

(DE 311), (ii) Magistrate Judge Rodovich did not have proper legal authority to issue

the February 6, 2024 Order To Show Cause (DE 308), and (iii) Magistrate Judge

Rodovich failed to address the reasons presented in the Byler Declaration (DE 310)

showing that there were no cognizable violations of the February 2, 2024 Order of

Reassignment (DE 306) and that the public filing of Plaintiff John Doe’s February 5,

2024 No Consent/Objection to Magistrate Judge Rodovich was done in the interest of

protecting Plaintiff John Doe. Magistrate Judge Rodovich has instead preferred to

engage in an extended tirade, misstating the facts and the law (e.g., there is no legal

requirement of confidentiality in the process of consenting or refusing to consent to a

Magistrate Judge), making unjustified personal attacks on Plaintiff John Doe’s

counsel, and ignoring among other things the relevant point that the Seventh Circuit

has not yet ruled on the merits whether Magistrate Judge Kolar is biased. (Seventh

Circuit Text Order, Sev. Cir. 23-2764 Docket Entry 14.)

The Unjustified Sanctions Recommendations Aimed
At Hamstringing Plaintiff John Doe’s Representation

      2.     These Written Objections will first address the Report and then the

Recommendation, which were not issued with proper legal authority, which were not

remotely justified and which as will further shown herein, appear to be an attempt

to hamstring Plaintiff John Doe’s representation and give expression to Magistrate



                                          [2]
USDC IN/ND case 2:17-cv-00033-GSL        document 312     filed 03/08/24   page 3 of 30


Judge Rodovich’s apparent personal animus against Plaintiff John Doe’s counsel. As

presented in the Byler Declaration (DE 310, pp. 2-3), Plaintiff John Doe’s counsel is

an experienced lawyer with extennsive legal credentials, he is a member of the

Northern District of Indiana federal court Bar, and he has been handling this case

since its original filing, including successfully arguing the Seventh Circuit appeal,

Doe v. Purdue, 928 F.3d 652 (7th Cir. 2019). (DE 310, p. 1.)

Plaintiff John Doe--No Consent To Magistrate Judge Rodovich; 28 U.S.C. § 636 About
Preserving Party Right Not To Consent To Magistrate Judge, Not Confidentiality

      3.     The report begins with reference to 28 U.S.C. § 636(c) and Federal Rule

of Civil Procedure 73 as supporting assigning a case to a Magistrate Judge “if all

parties consent.”   Fede (DE 311, p. 1.) What the report fails to acknowledge in this

connection and should be acknowledged at the outset is that in this case, Plaintiff

John Doe has denied consent and objected to Magistrate Judge Rodovich (DE 307.)

      4.     Further, the report misrepresents 28 U.S.C. § 636(c); its different

meaning becomes clear when quoted more fully as opposed to the selective part of 28

U.S.C. § 636 quoted in the report (DE 311, p. 1). The passage in question in 28 U.S.C.

§ 636(c) is actually about the availability of a Magistrate Judge to serve in the case

and about preserving the right of a party not to consent to a Magistrate Judge (as

Plaintiff John Doe has done). The passage in 28 U.S.C. § 636(c) is not about

preserving confidentiality as to the consent process regarding a Magistrate Judge (as

the report misreads it):

      If a magistrate judge is designated to exercise civil jurisdiction under
      paragraph (1) of this subsection, the clerk of court shall, at the time the
      action is filed, notify the parties of the availability of a magistrate

                                          [3]
USDC IN/ND case 2:17-cv-00033-GSL        document 312      filed 03/08/24   page 4 of 30


      judge to exercise such jurisdiction. The decision of the parties shall be
      communicated to the clerk of court. Thereafter, either the district court
      judge or the magistrate judge may again advise the parties of the
      availability of the magistrate judge, but in so doing, shall also advise the
      parties that they are free to withhold consent without adverse
      substantive consequences. Rules of court for the reference of civil
      matters to magistrate judges shall include procedures to protect the
      voluntariness of the parties’ consent.

(Emphasis supplied.)

No Rule Or Law Requiring Confidentiality In
The Consent Or No Consent To Magistrate Judge

      5.     The report misreads the Wright & Miller federal practice book (DE 311,

pp. 1-2) as supporting the notion that district courts have developed procedures to

preserve the confidentiality of the parties, footnoting to the consent form for the

Northern District of Indiana. The cited passage in the Wright & Miller federal

practice book is about procedures for preserving a party’s right not to consent to a

magistrate judge, not procedures to preserve confidentiality. A consent form does not

establish “procedures to preserve confidentiality,” but rather is a document used to

document consent.

      6.     The Wright & Miller federal practice book does not establish there is a

requirement of confidentiality in the Northern District of Indiana or anywhere else

as to the consent or no consent to a Magistrate Judge. In fact, what the Report

overlooks is the dispositive bottom-line fact: there is no Local Rule of the Northern

District of Indiana, not at LR 72-1 or elsewhere in the Local Rules, establishing there

is a requirement of confidentiality in the consent to or refusal to consent to a

Magistrate Judge. Further, there is no federal statute, not in 28 U.S.C. § 636 and



                                          [4]
USDC IN/ND case 2:17-cv-00033-GSL         document 312      filed 03/08/24   page 5 of 30


not elsewhere in the U.S. Code, establishing there is a requirement of confidentiality

in the consent to or refusal to consent to a Magistrate Judge.

      7.       The report cites to Kalan v. City of St. Francis, 274 F.3d 1150, (7th Cir.

2001), but as the report acknowledges (DE 311, p.2), all that case holds is that the

parties must consent to a specific magistrate judge, not that there is a confidentiality

requirement in the consent to or refusal to consent to a Magistrate Judge and here,

Plaintiff John Doe has specifically objected to Magistrate Judge Rodovich.

The February 2, 2024 Notice of Reassignment (DE 306)

      8.       The report, after utterly failing to establish a legal requirement of

confidentiality in the consent to or refusal to consent to a Magistrate Judge, turns to

the February 2, 2024 Notice of Reassignment (DE 306), which purported to reassign

Doe v. Purdue the case to Magistrate Judge Rodovich as a consented to judge in the

case and which further called for a confidential filing of any objection to Magistrate

Judge Rodovich so acting (DE 311, p. 2.) These provisions, as discussed below, are

ultra vires.    That Judge Kolar had a hand in the February 2, 2024 Notice of

Reassignment does not wipe away its ultra vires errors. The purported violation of

the Notice of Reassignment consisted of the public filing of the Denial of

Consent/Objection at DE 307. (DE 311, p. 2.)

      9.       The report states, falsely and outrageously, that “Byler makes it clear

that he does not agree with the procedures established by statute, federal rules and

local rules.” (DE 311, p. 3.) What the report instead shows, as discussed above, is

that the report has misapprehended, misread and misrepresented the procedures



                                            [5]
USDC IN/ND case 2:17-cv-00033-GSL          document 312       filed 03/08/24    page 6 of 30


established by statute, federal rules and local rules. There is no Local Rule of the

Northern District of Indiana, not at LR 72-1 or elsewhere in the Local Rules,

establishing there is a requirement of confidentiality in the consent to or refusal to

consent to a Magistrate Judge. There is no federal statute, not in 28 U.S.C. § 636

and not elsewhere in the U.S. Code, establishing there is a requirement of

confidentiality in the consent to or refusal to consent to a Magistrate Judge. As

discussed above, The Wright & Miller federal practice book does not establish a

requirement of confidentiality in the Northern District of Indiana or anywhere else

as to the consent or no consent to a Magistrate Judge. As discussed above, the

passage referenced in the report in 28 U.S.C. § 636(c) is actually about the availability

of a Magistrate Judge to serve in the case and about preserving the right of a party

not to consent to a Magistrate Judge (as Plaintiff John Doe has done); that passage

in 28 U.S.C. § 636(c) is not about preserving confidentiality as to the process of

consenting or not consenting to a Magistrate Judge (as the report misreads it).

      10.    It is not a matter of disagreeing with the February 2, 2024 Notice of

Reassignment so as to rationalize disregard it (DE 311, p. 3). It is a matter that

courts must act in accordance with the law; the Rule of Law requires it. It is a matter

that the February 2, 2024 Notice of Reassignment (DE 306) contained the ultra vires

defects   identified   in   Plaintiff   John     Doe’s   February   5,   2024   Denial   of

Consent/Objection (DE 307). It is a matter that the client’s proper protection required

a public filing of February 5, 2024 Denial of Consent/Objection (DE 307) in response

to the publicly filed February 2, 2024 Notice of Reassignment (DE 306). Judge



                                               [6]
USDC IN/ND case 2:17-cv-00033-GSL        document 312      filed 03/08/24    page 7 of 30


Kolar's proactivity in preemptively and unlawfully assigning consent to Magistrate

Judge Rodavich and telling the parties they could withdraw such consent, is clearly

at odds with how the law states that consent is not assumed, but conditional on the

actions of the parties.

The February 5, 2024 Denial of Consent/Objection (DE 307).

      11.    The    report   inaccurately     calls   February   5,   2024   Denial   of

Consent/Objection at DE 307 a “pleading” (DE 311, p. 2). What the February 5, 2024

Denial of Consent/Objection document at DE 307 does is clearly “give notice” to

Plaintiff John Doe’s objection and lack of consent to Magistrate Judge Rodovich and

provide the reasoning why the Denial of Consent/Objection was publicly filed. What

the February 5, 2024 Denial of Consent/Objection at DE 307 does not do is contain

any attacks of any nature upon Judge Kolar. The report is thus false in asserting

that the February 5, 2024 Denial of Consent/Objection contains a renewed attack on

Judge Kolar and the Clerk’s Office (DE 311, p. 2).

      12.    The report misses the point, made in the February 5, 2024 Denial of

Consent/Objection document (DE 307, p. 3), that a reason for a public filing of a

Denial of Consent/Objection document is to avoid “questions [that] can be easily

raised about the manipulation of the consent process” (DE 311, p. 2).

      13.    The February 5, 2024 Denial of Consent/Objection filed at DE 307 is

quoted here in full so that it is not misunderstood, misrepresented and distorted:

             To the Clerk and all parties: please take notice that Plaintiff John
      Doe, in response to the Court Order entered on February 2, 2024, at 5:51
      PM EST and filed February 2, 2024 (DE 306), objects to and denies
      consent to Magistrate Judge Rodovich as the reassigned judge to the

                                            [7]
USDC IN/ND case 2:17-cv-00033-GSL       document 312     filed 03/08/24     page 8 of 30


      case who could act for all purposes in the case, and demands that the
      case be randomly assigned to an Article III judge as Plaintiff John Doe
      is entitled under Article III of the U.S. Constitution. Plaintiff John Doe
      has not consented to Magistrate Judge Rodovich to act as judge for all
      purposes per 28 U.S.C. § 636(c), which requires “consent of the parties.”

             To the Clerk and all parties: please take further notice that the
      February 2, 2024 Order (DE 306), in making reference to the case being
      “fully consented to” and “the case will remain on full consent with
      Magistrate Judge Rodovich” unless a party objects, is erroneous and
      unlawful under 28 U.S.C. § 636.

             (1)    Whether there was proper consent in this case to
      Magistrate Judge Kolar to be the judge for all purposes has been
      thoroughly questioned with reasonable basis. Stated at DE 267, pages
      6-7 of Plaintiff John Doe’s appeal to the Seventh Circuit of the denial of
      recusal due to bias:

            Magistrate Judge Kolar’s opinion refusing recusal assumes
            he has consent pursuant to 28 U.S.C. § 636. [DE 261, p. 1.]
            The Docket Entries regarding consent, however, do not
            conclusively establish that consent was properly obtained.
            The first Docket Entry regarding consent states Magistrate
            Judge Kolar is assigned to the case, but the Docket Entry
            has no number and says the assignment is pursuant to a
            General Order. The following Docket Entry 40, dated July
            24, 2019, records an Order of Magistrate Judge Kolar that
            if the parties do not intend to object to the continued
            exercise of jurisdiction of Magistrate Judge Kolar, to notify
            Magistrate Judge Kolar. [DE 40.] Docket Entry 41, dated
            August 1, 2019, then records the assignment of the case to
            Magistrate Judge Kolar upon the consent of the parties.
            [DE 41.] The Docket Entries, however, do not record the
            filing of signed consents of the parties required by 28
            U.S.C. § 636 for Magistrate Judge Kolar to be the judge for
            all purposes, including for trial. There was no indication of
            bias then in July 2019 on the part of Magistrate Judge
            Kolar, who had seemingly good credentials, or what would
            follow in subsequent years that now form the basis of
            Plaintiff’s pervasive bias motion. . . .

              (2) Regardless of the above point, consent to one Magistrate
      Judge acting as a judge for all purposes in a case pursuant to 28 U.S.C.



                                         [8]
USDC IN/ND case 2:17-cv-00033-GSL        document 312      filed 03/08/24   page 9 of 30


      § 636 does not provide consent to another Magistrate Judge so acting
      pursuant to 28 U.S.C. § 636; such consent is not transferable.

               (3) The case is not and has never been on full consent with
      Magistrate Judge Rodovich. There would need to be a fully executed
      consent with respect to Magistrate Judge Rodovich to act as a judge for
      all purposes in a case pursuant to 28 U.S.C. § 636, and neither Plaintiff
      John Doe nor his counsel has signed such a consent and neither Plaintiff
      John Doe nor his counsel ever will.

             To the Clerk and all parties: please take further notice that the
      February 2, 2024 Order (DE 306), is in error and unlawful under 28
      U.S.C. § 636 in asserting that “the confidentiality of the consent process”
      requires a party not to file “any objection on the docket” but to file the
      objection with the Clerk.

               (1) While this Objection/No Consent document will be
      delivered to the Clerk’s Office in Hammond, there is no confidentiality
      of the consent process requiring a mailed delivery to the Clerk’s Office.
      There is nothing calling for confidentiality in the fact a party chooses to
      not give consent to a Magistrate Judge to be judge for all purposes in the
      case. It is part of the job that some parties may choose not to give
      consent to a Magistrate Judge to be judge for all purposes.

             (2)   Actions as to the assignment or reassignment of judges are
      matters of public filings. The integrity of the court process requires a
      party’s response to the February 2, 2024 Order, DE 306, be reflected in
      the public docket. Otherwise, questions can be easily raised about the
      manipulation of the consent process.

      14.    This statement, the report does not even attempt to address with respect

to its substance, but rather dismisses it as not offering a defense. (DE 311, p. 3).

That is flatly incorrect. The report, among other things, erroneously dismisses as

irrelevant what is critically important -- that given the case's history for the past 4½

years, Plaintiff John Doe and his counsel had every reason to take protective action

in the form of the public filing of the No Consent/Objection document at DE 307.

The report also ignores the substance of the Denial of Consent/Objection document



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USDC IN/ND case 2:17-cv-00033-GSL       document 312        filed 03/08/24   page 10 of 30


at DE 307 that establishes there were no legally cognizable violations of the

Reassignment Order (DE 306). The report’s back-of-the-hand treatment to the

Denial of Consent/Objection document at DE 307 calls for close examination of that

document, which shows the valid defenses the report fails to recognize.

No Consent/Objection In Response To Order of Reassignment.

      15.    The first paragraph of the Denial of Consent/Objection document at DE

307 contains Plaintiff John Doe’s response to the February 2, 2024 Order of

Reassignment at DE 306. That response is that Plaintiff John Doe objects to and

denies consent to Magistrate Judge Rodovich as the reassigned judge to the case who

could act for all purposes in the case, and Plaintiff John Doe demands that the case

be randomly assigned to an Article III judge as Plaintiff John Doe is entitled under

Article III of the U.S. Constitution. Plaintiff John Doe further responds that he has

not consented to Magistrate Judge Rodovich to act as judge for all purposes per 28

U.S.C. § 636(c), which requires “consent of the parties.”

      16.     The response in the first paragraph of the Denial of Consent/Objection

document at DE 307 is perfectly appropriate given the publicly filed February 2, 2024

Order of Reassignment at DE 306. The response in the first paragraph of the Denial

of Consent/Objection document at DE 307 is not of a nature that calls for

confidentiality, but rather should be publicly filed given the contents of the February

2, 2024 Order of Reassignment at DE 306, so there is no question about Plaintiff John

Doe’s position on the matter, that there is no consent and there is objection. The

response in the first paragraph of the Denial of Consent/Objection document at DE



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USDC IN/ND case 2:17-cv-00033-GSL        document 312      filed 03/08/24   page 11 of 30


307 does not contain attacks of any nature upon Magistrate Judge Kolar, only a

restatement of relevant case history concerning this specific topic of consent and

the assertion of Plaintiff John Doe’s rights under Article III of the U.S. Constitution

and 28 U.S.C. § 636.

Legal Rejection, As Ultra Vires, of Case Being Assigned To
And Fully Consented To With Magistrate Judge Rodovich._

      17.     The second paragraph of the Denial of Consent/Objection document at

DE 307 is the legal rejection, as ultra vires, of the case being “fully consented to” and

“remain[ing] on full consent with Magistrate Judge Rodovich” unless a party objects

(which Plaintiff John Doe has). The February 2, 2024 Order of Reassignment (DE

306) does not cite any legal authority for asserting the case would “remain on full

consent with Magistrate Judge Rodovich.” There is no legal authority for such a

provision, particularly not in 28 U.S.C. § 636 and not in the Local Rules of the

Northern District of Indiana. A Magistrate Judge may be assigned certain tasks, but

not to be a judge for all purposes without consent of the parties (Plaintiff John Doe

has refused consent). Further, Magistrate Judge Rodovich was not assigned, per 28

U.S.C. § 636, the tasks of issuing the Order To Show Cause at DE 308 and doing the

Report and Recommendation at DE 311.

      18.    The second paragraph of the Denial of Consent/Objection document at

DE 307 contains three numbered subparagraphs.

      19.    The first numbered subparagraph, importantly, records Plaintiff John

Doe’s questioning of the assertion that case was fully consented to with then




                                          [11]
USDC IN/ND case 2:17-cv-00033-GSL       document 312     filed 03/08/24   page 12 of 30


Magistrate Judge Kolar, relying upon the statement in Plaintiff John Doe’s appeal to

the Seventh Circuit of the denial of recusal due to bias, which is worth quoting:

      Magistrate Judge Kolar’s opinion refusing recusal assumes he has
      consent pursuant to 28 U.S.C. § 636. [DE 261, p. 1.] The Docket Entries
      regarding consent, however, do not conclusively establish that consent
      was properly obtained. The first Docket Entry regarding consent states
      Magistrate Judge Kolar is assigned to the case, but the Docket Entry
      has no number and says the assignment is pursuant to a General Order.
      The following Docket Entry 40, dated July 24, 2019, records an Order of
      Magistrate Judge Kolar that if the parties do not intend to object to the
      continued exercise of jurisdiction of Magistrate Judge Kolar, to notify
      Magistrate Judge Kolar. [DE 40.] Docket Entry 41, dated August 1,
      2019, then records the assignment of the case to Magistrate Judge Kolar
      upon the consent of the parties. [DE 41.] The Docket Entries, however,
      do not record the filing of signed consents of the parties required by 28
      U.S.C. § 636 for Magistrate Judge Kolar to be the judge for all purposes,
      including for trial. There was no indication of bias then in July 2019 on
      the part of Magistrate Judge Kolar, who had seemingly good credentials,
      or what would follow in subsequent years that now form the basis of
      Plaintiff’s pervasive bias motion. . . .

It may be noted at this point and will be discussed further below that the Seventh

Circuit has not yet ruled on the merits whether Magistrate Judge Kolar is biased.

(Seventh Circuit Text Order, Sev. Cir. 23-2764 Docket Entry 14.)

      20.    The second numbered subparagraph states that regardless of the

questioning of whether there was consent as to Magistrate Judge Kolar, consent to

one Magistrate Judge acting as a judge for all purposes in a case pursuant to 28

U.S.C. § 636 does not provide consent to another Magistrate Judge so acting pursuant

to 28 U.S.C. § 636; such consent is not transferable. Even if consent were a non-

issue with Magistrate Judge Kolar, such consent is not lawfully transferable to

another judge, and that certainly includes Magistrate Judge Rodovich.




                                         [12]
USDC IN/ND case 2:17-cv-00033-GSL       document 312     filed 03/08/24     page 13 of 30


      21.    The third numbered subparagraph states that the case is not and has

never been on full consent with Magistrate Judge Rodovich. There would need to be

a fully executed consent with respect to Magistrate Judge Rodovich to act as a judge

for all purposes in a case pursuant to 28 U.S.C. § 636, and neither Plaintiff John Doe

nor his counsel has signed such a consent and neither Plaintiff John Doe nor his

counsel ever will. At Purdue counsel’s request, in June 2023, a settlement conference

was held before Magistrate Judge Rodovich, and suffice it to be said that both

Plaintiff John Doe and his counsel were dissatisfied with Magistrate Judge

Rodovich’s handling of the conference and apparent chumminess with Purdue

counsel. It does not matter if Magistrate Judge Rodovich and Purdue’s counsel have

a different view (DE 311, p. 5). What matters is that Plaintiff John Doe and his

counsel object to and do not consent to Magistrate Judge Rodovich to be judge for all

purposes and have in fact objected to and do not give consent to Magistrate Judge

Rodovich. Plaintiff John Doe’s No Consent/Objection document at DE 307 legally

precluded Magistrate Judge Rodovich from taking any action in this case, including

issuing and considering the Order To Show Cause at DE 308, and from issuing the

Report and Recommendation at DE 311.

      22.    The   statement    in   the    second   paragraph   of   the    Denial   of

Consent/Objection document at DE 307 -- that the February 2, 2024 Order (DE 306),

in making reference to the case being “fully consented to” and “the case will remain

on full consent with Magistrate Judge Rodovich” unless a party objects, is erroneous

and unlawful under 28 U.S.C. § 63)6 -- was perfectly appropriate given the publicly



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USDC IN/ND case 2:17-cv-00033-GSL        document 312     filed 03/08/24   page 14 of 30


filed February 2, 2024 Order of Reassignment (DE 306). The statement in the second

paragraph of the Denial of Consent/Objection document at DE 307 does not call for

confidentiality, but rather that it should be publicly filed given the contents of the

publicly filed February 2, 2024 Order of Reassignment (DE 306), so there is no

question about Plaintiff John Doe’s position on the matter, that there is no consent

and there is objection. The statement in the second paragraph of the Denial of

Consent/Objection document at DE 307 does not contain attacks of any nature upon

Magistrate Judge Kolar, only a restatement of relevant case history concerning this

specific topic of consent and the assertion of Plaintiff John Doe’s rights under Article

III of the U.S. Constitution and 28 U.S.C. § 636.

Legal Rejection, As Ultra Vires, of The Assertion That “The
Confidentiality the Consent Process” Requires A Party To Not File
“Any Objection on the Docket” But To File Objection With The Clerk.

      23.    The third paragraph of the Denial of Consent/Objection document (DE

307) is the legal rejection, as ultra vires, that “the confidentiality of the consent

process” requires a party not to file “any objection on the docket” but to file the

objection with the Clerk. The February 2, 2024 Order of Reassignment (DE 306) does

not cite any legal authority for asserting that “the confidentiality of the consent

process” requires a party not to file “any objection on the docket” but to file the

objection with the Clerk; there is no legal authority for such a provision, particularly

not in 28 U.S.C. § 636 which specifically applies here; as discussed above, there is no

legal requirement for confidentiality in the consenting or not consenting to a




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USDC IN/ND case 2:17-cv-00033-GSL        document 312     filed 03/08/24   page 15 of 30


Magistrate Judge; and what the report cites does not provide any such legal

authority.

      24.     The third paragraph of the Denial of Consent/Objection document (DE

307) contains two numbered subparagraphs.

      25.     The first numbered subparagraph records Plaintiff John Doe’s position

that while this Objection/No Consent document will be delivered to the Clerk’s Office

in Hammond. and that document was so delivered by mail (DE 309), there is no

legally required confidentiality of the consent process requiring a mailed delivery to

the Clerk’s Office (in the nearly 50-year career of Plaintiff John Doe’s counsel, he has

never encountered such a thing. Also, there is nothing calling for confidentiality in

the fact a party chooses to not give consent to a Magistrate Judge to be judge for all

purposes in a case; it is part of the job of a Magistrate Judge that some parties may

choose not to give such consent to that Magistrate Judge.

      26.    The second numbered subparagraph records Plaintiff John Doe’s

position that actions as to the assignment or reassignment of judges are matters of

public filings and that the integrity of the court process requires a party’s response

to the February 2, 2024 Order, DE 306, be reflected in the public docket -- otherwise,

questions can be easily raised about the manipulation of the consent process. The

report misinterprets this point as an attack on the integrity of the Court. It is no

such thing. It is a matter of transparency in a public process and maintaining the

appearance of propriety.




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USDC IN/ND case 2:17-cv-00033-GSL       document 312     filed 03/08/24   page 16 of 30


      27.    The statement in the third paragraph of the Denial of Consent/Objection

document (DE 307) – that the February 2, 2024 Order (DE 306) is in error and

unlawful under 28 U.S.C. § 636 in asserting that “the confidentiality of the consent

process” requires a party not to file “any objection on the docket” but to file the

objection with the Clerk -- was perfectly appropriate given the publicly filed February

2, 2024 Order of Reassignment (DE 306). The statement in the third paragraph of the

Denial of Consent/Objection document at DE 307 does not call for confidentiality, but

rather should be publicly filed given the contents of the February 2, 2024 Order of

Reassignment (DE 306), so there is no question about Plaintiff John Doe’s position on

the matter, that there is no consent and there is objection. The statement in the

second paragraph of the Denial of Consent/Objection document at DE 307 does not

contain attacks of any nature upon Magistrate Judge Kolar, but rather only a

restatement of relevant case history concerning the specific topic of consent and

the assertion of Plaintiff John Doe’s rights under Article III of the U.S. Constitution

and 28 U.S.C. § 636.

No Cognizable Violations As To Reassignment Order (DE 306)

      28.    In two respects, the February 2, 2024 Reassignment Order at DE 306

was ultra vires and not a lawful order such that it can be properly asked why was the

February 2, 2024 Reassignment Order violated.

      29.    First, the February 2, 2024 Reassignment Order stated the case would

“remain on full consent with Magistrate Judge Rodovich” unless a party objects. The

February 2, 2024 Reassignment Order does not cite any legal authority and there is



                                         [16]
USDC IN/ND case 2:17-cv-00033-GSL        document 312      filed 03/08/24   page 17 of 30


no legal authority for one Magistrate Judge acting as a judge for all purposes in a

case pursuant to 28 U.S.C. § 636 to transfer such consent to another Magistrate Judge

to so act pursuant to 28 U.S.C. § 636; such consent is not transferable; a party would

need to consent separately to Magistrate Judge Rodovich pursuant to 28 U.S.C. § 636,

and that consent has not been given and won’t be.

      30.    Second, the February 2, 2024 Reassignment Order stated “the

confidentiality of the consent process” requires a party not to file “any objection on

the docket” but to file the objection with the Clerk. The February 2, 2024

Reassignment Order does not cite any legal authority and, as discussed above, there

is no legal authority for requiring a party to file confidentially with the Clerk the

party’s objection/no consent document to a Magistrate Judge.            Imposition of a

confidentiality requirement would lead to questions that can be easily raised about

the manipulation of the consent process. As noted above, actions as to the assignment

or reassignment of judges are matters of public filings, and the integrity of the court

process requires a party’s response to the February 2, 2024 Order, DE 306, be

reflected in the public docket

Protection of Plaintiff John Doe.

      31.     It should be clear from the foregoing that the prompt, public filing of

the No Consent/Objection document at DE 307 was necessary and done to protect

Plaintiff John Doe’s right to not consent to and object to Magistrate Judge Rodovich

as the judge in the case and to protect Plaintiff John Doe’s right to have an Article III

judge actively handle his case.



                                          [17]
USDC IN/ND case 2:17-cv-00033-GSL       document 312    filed 03/08/24   page 18 of 30


The July 2023 Bias Motion

         32.   The following is provided to rebut the report’s false assertions that

Plaintiff John Doe and his counsel have been engaged in personal attacks upon Judge

Kolar.     Plaintiff John Doe and his counsel have availed themselves of motions

authorized by federal law.

         33.   The Order To Show Cause (DE 308) referred to unspecified

unprofessional attacks by Plaintiff John Doe’s counsel upon then Judge Kolar. The

Byler Declaration (DE 309) in response to the Order To Show Cause denied that the

No Consent/Objection document at DE 307 contained any unprofessional attacks on

Judge Kolar. Because the Order To Show Cause improperly did not specify what

unprofessional attacks were at issue, the Byler Declaration (DE 309), in response to

the Order To Show Cause, speculated (DE 309, pp. 17-18) that Magistrate Judge

Rodovich was demanding Plaintiff John Doe’s counsel justify the bias motion filed

against Judge Kolar -- a motion authorized by federal law and fully supported at

length in the District Court (DE 257, DE 260) and in the Seventh Circuit (DE 267,

Sev. Cir. 23-2764, Docket Entry 13), and the Seventh Circuit has not ruled in any

way that it was unjustified (DE 267, Sev. Cir. 23-2764, Docket Entry 14). A report is

not the proper place for a Court to finally identify the purported unprofessional

attacks that the Court demands justification; that’s for an Order To Show Cause, a

requirement not satisfied here.

         34.   Magistrate Judge Rodovich’s Report and Recommendation is abusing a

sanctions motion against counsel to punish that counsel based on the Magistrate



                                         [18]
USDC IN/ND case 2:17-cv-00033-GSL        document 312    filed 03/08/24   page 19 of 30


Judge’s personal umbrage over a statutorily authorized bias motion filed against a

colleague. Such abuse may gratify the Magistrate Judge’s personal feelings, but it

has no rational relationship to the fair administration of justice, particularly when

the alleged violation is the public filing of Plaintiff John Doe’s February 5, 2024 No

Consent/Objection document to Magistrate Judge Rodovich (DE 307), a public filing

which was in the client’s best interest. Magistrate Judge Rodovich’s Report and

Recommendation should be dismissed for lacking a proper sanctions case.

         35.   The report is wildly and outrageously false in describing the docket as

reflecting a history of personal attacks on Judge Kolar. (DE 311, p.3.) Accompanying

these Written Objections is a copy of the Docket Entries through March 5, 2024.

Judge Kolar was on the case from March 24, 2019 to February 2, 2024, and

throughout that period, what the docket reflects, quite differently, is that despite

much litigation, there were years where there was nothing that remotely could be

said to involve a personal attack on Judge Kolar and in that entire period, there was

nothing reflecting what fairly and properly be called “personal attacks” on Judge

Kolar.

         36.   On August 30, 2022, Plaintiff John Doe moved to reconsider (DE 209)

the grant of summary judgment against Plaintiff John Doe’s due process claim, a

grant said to be contrary to Judge Barrett’s opinion in Doe v. Purdue, 928 F.3d 928

(7th Cir. 2019). But such a standard motion is not remotely a personal attack. On

February 17, 2023, John Doe filed a petition for a writ of mandamus (DE 229) on the

theory that Judge Kolar was exceeding his jurisdiction in effectively overruling Judge



                                          [19]
USDC IN/ND case 2:17-cv-00033-GSL       document 312     filed 03/08/24   page 20 of 30


Barrett’s opinion in Doe v. Purdue, 928 F.3d 928 (7th Cir. 2019) and in rendering

decisions at odds with the discovery evidentiary record. Such a petition, authorized

by federal law, cannot properly be classified as an unprofessional personal attack.

      37.    The report does not accurately state the timing of the bias motion. The

report incorrectly says the bias motion was made after the grant of summary

judgment against Plaintiff John Doe’s due process claim, which was in August 2022

(DE 206); to that ruling, Plaintiff John Doe’s response was a motion for

reconsideration (DE 209). The bias motion, however, was not made until July 9, 2023,

following the failure of settlement talks (at which point the concern of Plaintiff John

Doe and his counsel for a fair trial became the immediate focus). Thus it was in

July 2023 that Plaintiff John Doe moved to recuse Judge Kolar for bias, applying two

federal statutes: 28 U.S.C. § 144 and 28 U.S.C. § 455. 28 U.S.C. § 455(a) provides that

”Any justice, judge, or magistrate judge of the United States shall disqualify himself

in any proceeding in which his impartiality might reasonably be questioned.” 28

U.S.C. § 144 provides that “Whenever a party to any proceeding in a district court

makes and files a timely and sufficient affidavit that the judge before whom the

matter is pending has a personal bias or prejudice either against him or in favor of

any adverse party, such judge shall proceed no further therein, but another judge

shall be assigned to hear such proceeding.” (DE 257, DE 260.) The recusal for bias

motion was supported by a 9-page declaration by Plaintiff John Doe (DE 257-2) and

a 34-page declaration by Plaintiff John Doe’s counsel (DE 257-1).




                                         [20]
USDC IN/ND case 2:17-cv-00033-GSL         document 312       filed 03/08/24   page 21 of 30


       38.    The goal of section 455(a) is to avoid even the appearance of partiality.

Liljeberg v. Health Servs. Acquisition Corp., 486 U.S. 847, 860 (1988). “A violation of

§ 455(a)—which requires a judge to disqualify himself in any proceeding in which his

impartiality might reasonably be questioned—is established when a reasonable

person, knowing the relevant facts, would expect that a judge knew of circumstances

creating an appearance of partiality,” Liljeberg v. Health Servs. Acquisition Corp.,

486 U.S. 847, 848 (1988).

       39.    As for the “extrajudicial source” doctrine, “there is not much doctrine to

the doctrine.”    Liteky v. United States, 510 U.S. 540, 554 (1994). Establishing an

extrajudicial source of bias “is not a necessary condition for ‘bias or prejudice’ recusal.”

Liteky v. United States, 510 U.S. 540, 554 (1994) (emphasis in the original). This is

because “’extrajudicial source’ is . . .     not the exclusive [basis for establishing

disqualifying bias or prejudice], since it is not the exclusive reason a predisposition

can be wrongful or inappropriate. A favorable or unfavorable predisposition can also

deserve to be characterized as ‘bias’ or ‘prejudice’ because, even though it springs from

the facts adduced or the events occurring at trial, it is so extreme as to display clear

inability to render fair judgment. See, e.g., Davis v. Board of School Comm'rs of

Mobile County, 517 F.2d 1044, 1051 (CA5 1975), cert. denied, 425 U.S. 944, 96 S.Ct.

1685, 48 L.Ed.2d 188 (1976).)” Liteky v. United States, 510 U.S. at 551 (emphasis in

the original). “Recusal is required whenever there exists a genuine question

concerning a judge's impartiality, and not merely when the question arises from an




                                            [21]
USDC IN/ND case 2:17-cv-00033-GSL        document 312      filed 03/08/24   page 22 of 30


extrajudicial source.” Liteky v. United States, 510 U.S. at 551 (emphasis in the

original).

       40.   Plaintiff has not been relying upon disagreements and the mere fact of

adverse rulings, but upon the manifestations of “judicial predispositions that go

beyond what is normal and acceptable,” and show a case of “pervasive bias.” Liteky

v. United States, 510 U.S. at 551. In particular, Judge Kolar’s July 2, 2021, August

11, 2022 and February 14, 2023 opinions mishandled the law in a way an impartial

judge would not do, misstated the factual record in a way an impartial judge would

not do, and did so all to Purdue’s benefit, establishing Magistrate Judge Kolar won’t

be impartial due to pervasive bias. Added to the pervasive bias was the extra-judicial

source of bias from Judge Kolar’s nomination of the Seventh Circuit after no years as

an Article III judge and four years as a Magistrate Judge rendering the decisions

giving rise to the bias motion.

       41.   The report attacks the bias motion, without considering any of its

specifics, as a matter of Plaintiff John Doe’s counsel not able to accept adverse rulings

by Judge Kolar. (DE 311, p. 3.) Such an attack is false and insufficient for a sanctions

motion. That Plaintiff John Doe and his counsel found certain key rulings of Judge

Kolar to be wildly erroneous is not the basis of an attorney sanction decision.

       42.   In response to the bias motion, Judge Kolar did write an opinion denying

the recusal motion. (DE 206.) But the report ignores that Plaintiff John Doe filed an

appeal (DE 267) which included a rebuttal to Judge Kolar’s questionable opinion.

Accompanying these Written Objections is Plaintiff John Doe’s September 7, 2023



                                          [22]
USDC IN/ND case 2:17-cv-00033-GSL          document 312     filed 03/08/24   page 23 of 30


Notice of Appeal with the 32-page rebuttal to Judge Kolar (DE 267, pp. 6-38). While

the report parrots the Judge Kolar line that what was involved were mere

disagreements, the rebuttal to Judge Kolar in the appeal and the premise of the bias

motion shows that involved were far more than just disagreements – e.g., eleven

utterly irrelevant post-suspension Snapchat items speciously treated as spoliation

without fulfilling its legal requirements resulting in an onerous award of fees and an

adverse jury instruction to burden Plaintiff John Doe; the dismissal of Plaintiff John

Doe’s due process claim based on what was a rejection of Judge Barrett’s opinion in

Doe v. Purdue, 928 F.3d 652 (7th Cir. 2019); the ignoring of the Navy regulations

providing an irrefutable basis for the stigma-plus liberty interest and recognition of

Plaintiff John Doe’s due process claim; the complete avoidance by Judge Kolar of

justifying the July 2, 2021, August 11, 2022 and February 14, 2023 opinions; and his

serious misstatements of the evidentiary record.          These were manifestations of

“judicial predispositions that go beyond what is normal and acceptable,” and show a

case of “pervasive bias.” Liteky v. United States, 510 U.S. at 551. And they were

occurring as the nomination of Judge Kolar to the Seventh Circuit from being a

Magistrate Judge was being advanced. The foregoing did not and does not reflect a

personal vendetta against Judge Kolar, but rather an effort to have judicial

impartiality as required by federal law.

      43.    As noted above, the Seventh Circuit has not yet ruled on the merits

whether Magistrate Judge Kolar is biased. (Seventh Circuit Text Order, Sev. Cir. 23-

2764 Docket Entry 14.) The Seventh Circuit has not ruled in any way that the recusal



                                            [23]
USDC IN/ND case 2:17-cv-00033-GSL        document 312     filed 03/08/24   page 24 of 30


for bias motion was unjustified, but rather they said it was to be heard with the

appeal on the final judgment. (Seventh Circuit Text Order, Sev. Cir. 23-2764 Docket

Entry 14.) Plaintiff John Doe does not agree with that procedural ruling and has filed

a petition for certiorari challenging it, U.S Sup. Ct. 23-851, and Purdue has

announced it is not filing a response to that petition.

The Cross-Motion To Recuse Magistrate Judge Rodovich From The Case.

      44.      The report complains about the cross-motion to recuse Magistrate Judge

Rodovich. (DE 311, p. 4.) That cross-motion to recuse Magistrate Judge Rodovich is

stated to be based upon the application of two federal statutes: 28 U.S.C. § 144 and

28 U.S.C. § 455, requiring, as discussed above, impartiality of judges and magistrate

judges.

      45.      The report engages in attack upon Plaintiff John Doe’s counsel about

the recusal cross-motion, but does not directly address the reasons and grounds for

that recusal cross-motion. (DE 311, p. 4). According to the cross-motion, Magistrate

Judge Rodovich has shown that which establishes required recusal from “a genuine

question concerning a judge's impartiality.” The following reasons and grounds were

advanced for recusal, and the report ironically provides further evidence of the need

for recusal.

      46.      The first reason for recusal is that Magistrate Judge Rodovich issued

the Order To Show Cause (DE 308) and now the Report and Recommendation (DE

311) when, as discussed above, he had no proper authority to do so. There is no legal

authority, particularly not in 28 U.S.C. § 636, for a provision that Magistrate Judge



                                          [24]
USDC IN/ND case 2:17-cv-00033-GSL         document 312      filed 03/08/24   page 25 of 30


Rodovich be assigned consent to be the judge for all purposes in a case. A Magistrate

Judge may be assigned certain tasks under 28 U.S.C. § 636, but not to be judge for

all purposes. Further, Magistrate Judge Rodovich was not assigned, per 28 U.S.C. §

636, the tasks of issuing the Order To Show Cause at DE 308 and doing the Report

and Recommendation at DE 311. Yet, Magistrate Judge Rodovich charged ahead

intent upon sanctioning Plaintiff John Doe’s counsel.

       47.    The second reason for recusal is that Magistrate Judge Rodovich issued

the Order To Show Cause (DE 308). demanding that Plaintiff John Doe’s counsel

explain why he did not abide by the Notice of Reassignment’s ultra vires

confidentiality provision (DE 306) when, as shown above, the No Consent/Objection

document (DE 307) spelled out why the No Consent/Objection document was properly

publicly filed.

       48.    The third reason for recusal is that Magistrate Judge Rodovich has been

attempting to preserve a legally improper effort to assign consent to himself to be

judge for all purposes in the case. Magistrate Judge Rodovich has been repeatedly

advised in writing that he has been objected to and that he has no proper authority

to act in this case. Yet, he continues to do so, which shows the public filing of Plaintiff

John Doe’s No Consent/Objection document (DE 307) a very wise action.

       49.    The fourth reason for recusal is that Magistrate Judge Rodovich

demanded Plaintiff John Doe’s counsel justify what were called unprofessional

attacks on Judge Kolar that were not specifically identified in the Order To Show




                                           [25]
USDC IN/ND case 2:17-cv-00033-GSL        document 312     filed 03/08/24   page 26 of 30


Cause (DE 308) and that were only identified in the report. Notice and opportunity

to be heard as the specific charges were not observed in favor of finding guilt first.

      50.    The fifth reason for recusal is that obviously, Magistrate Judge Rodovich

resents the filings made by Plaintiff John Doe concerning his colleague’s lack of

impartiality, but that reflects the inability of Magistrate Judge Rodovich to be

impartial.

Need To Assign Case To Active Article III Judge.

      48.    The report complains about the cross-motion with respect to Senior

Judge James T. Moody DE 31, p.5), but that cross-motion has an entirely different

nature and rationale than the one directed at Magistrate Judge Radovich for recusal.

The concern of Plaintiff John Doe is stated in the first paragraph of the Denial of

Consent/Objection document at DE 307 containing Plaintiff John Doe’s “demand[]

that the case be randomly assigned to an Article III judge as Plaintiff John Doe is

entitled under Article III of the U.S. Constitution.” And that means an active Article

III judge who won’t be just assigning tasks to a Magistrate Judge but who will

actively and impartially decide trial motions and oversee the trial.

      49.    This case is seven years old. It needs to have an active Article III judge

assigned to it who will deal with trial and trial issues, not (God bless him) an 85-year

old judge who will be assigning tasks to an objected to Magistrate Judge. There are

two such active judges in the Hammond division of the Northern District of Indiana,

Judge Simon and Judge Lund. With what has gone on in this case, it needs that kind




                                          [26]
USDC IN/ND case 2:17-cv-00033-GSL         document 312      filed 03/08/24   page 27 of 30


of reassignment in the interests of justice. What Plaintiff John Doe wants is a fair

trial.

Recommendations for Sanctions

         50.    Before considering the report’s specific Recommendations for sanctions

(DE 311, p. 6), the Recommendations – there are four – all should be dismissed. As

discussed above, Magistrate Judge Rodovich issued the Order To Show Cause (DE

308) and the Report and Recommendation (DE 311) when, as discussed above, he had

no proper legal authority to do so.

         51.   The first recommendation is for a $5,000 fine which has no clearly stated

rationale and which justification in the public interest. The purported violation was

the public filing of Plaintiff John Doe’s No Consent/Objection document at DE 307,

which was in response to the publicly filed Notice of Reassignment at DE 306. As

explained herein, the public filing was in the client’s interest. If any part of the $5,000

is attributable to the bias motion, then the sanctions recommendation is being

improperly abused to punish an attorney for having made a motion authorized by

federal law, never rejected on the merits by the Seventh Circuit, but a motion still to

the displeasure of Magistrate Judge Rodovich.

         52.   The second recommendation is for a requirement of local counsel, even

though Plaintiff John Doe’s counsel, Mr. Byler, is a member of the Northern District

of Indiana Bar and has been handling the case post-remand from July 2019 on

without such local counsel. Judge Kolar never required such local counsel July 2019-

February 2024, and there is no need for such local counsel now – the docket entries



                                           [27]
USDC IN/ND case 2:17-cv-00033-GSL        document 312      filed 03/08/24   page 28 of 30


from July 2019 to February 2024 document the fact there is no need. Further, the

Court imposed requirement of local counsel is to impose an unwarranted cost on

Plaintiff John Doe to burden his efforts to vindicate his rights. Plaintiff John Doe

and his counsel may choose on their own to hire, for trial, a local attorney or another

member of the Northern District of Indiana Bar, but that is properly left to them.

       53.    The third recommendation is to direct a certified copy of the sanctions

order to the Attorney Disciplinary Commissions for New York and Indiana. Those

Attorney Disciplinary Commissions may wonder why there is an attorney sanction

over the public filing of a no consent/objection document in response to a publicly filed

notice of reassignment and over a motion authorized by federal law and the Seventh

Circuit has not even decided it on the merits. In any event, Plaintiff John Doe’s

counsel would deal with it.      He is and has been since 2007 a member of the

Professional Discipline Committee of the New York State Bar Association, its

Secretary since 2015 and its Chair of its Subcommittee on Fitness To Practice.

       54.    The fourth recommendation is to require Plaintiff John Doe to file an

affidavit under seal stating he has read the sanctions order against his attorney.

Plaintiff John Doe can do such an affidavit, but what he will state and not under seal

is that in consultation with him (the client), the No Consent/Objection document at

DE 307 was publicly filed in response to the publicly filed Notice of Reassignment at

DE 306 and that the public filing of the No Consent/Objection document was in his

(the client’s) interest.




                                          [28]
USDC IN/ND case 2:17-cv-00033-GSL       document 312       filed 03/08/24   page 29 of 30


Concluding False and Insulting Assertions

      55.    The report asserts falsely and outrageously that Plaintiff John Doe’s

counsel “responded to clear allegations of misconduct with more serious misconduct.”

(DE 311, p. 6.) What clear allegations of misconduct? The public filing of Plaintiff

John Doe’s No Consent/Objection document at DE 307, which was in response to the

publicly filed Notice of Reassignment at DE 306? What more serious misconduct?

The explanations that Plaintiff John Doe’s counsel in DE 310 gave in response to the

Order To Show Cause (DE 308) showing no cognizable violations of the Notice of

Reassignment and a client interest in the public filing?

      56.    The report concludes on one final insulting note -- that it in the interest

of Plaintiff John Doe’s counsel to consult with an attorney before filing an Objection.

Why? These Written Objections are being filed now in the interest of the client

because these Written Objections address accurately the many serious errors and

misstatements of the Report and Recommendation and the fact Magistrate Judge

Rodovich who has acted without lawful authority in this case.

Without Prejudice

      57.    This submission is made without prejudice to Plaintiff John Doe’s

position that Magistrate Judge Rodovich did not have authority to issue the Order To

Show Cause and did not have authority to issue the Report and Recommendation and

is precluded from taking any action in this case.

Dated: March 8, 2024
                                        Respectfully submitted,
                                        LAW OFFICES OF PHILIP A. BYLER
                                        By: /s/Philip A. Byler

                                         [29]
USDC IN/ND case 2:17-cv-00033-GSL      document 312      filed 03/08/24   page 30 of 30


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                           CERTIFICATE OF SERVICE

      The undersigned certifies that this document was served upon the attorneys of
record for each party to the above-entitled cause at the address shown below on March
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                                               ______/s/ Philip A. Byler____________
                                                     Philip A. Byler




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